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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the                                         SEALED
                                                       Middle District ofFlorida

                  United States ofAmerica                           )
                             V.                                     )
                 ERIC LANCE REYNOLDS                                )      Case No.
                                                                    )                 6:21-mj- 1287
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)

                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best ofmy knowledge and belief.
On or about the date(s) of                December 7, 2019                 in the county of              Orange                               in the
        Middle         District of           Florida            , the defendant(s) violated:
         Code Section                                                       Offense Description
18 USC § 2252A(a)(2)                          Distribution of child pornography.




          This criminal complaint is based on these facts:
See attached affidavit




          iif Continued on the attached sheet.




                                                                                      Special Agent Kevin Kaufman, FBI
                                                                                               Printed name and title

Sworn to before me via Telephone and signed
by me pursuant to Fed.R.Crim. P. 4.1 and 4(d).

                                                                           -p
                                                                                                                     U.S. Districr Court - FLMD



Date:         4/1/2021
                                                                                         ~_;..?  Judge's signature

City and state:                          Orlando, FL
                                                                             <'DANIELC.    IRICK
                                                                                 Daniel C. Irick, U.S. Magistrate Judge
                                                                                   ITED STATES      MAGISTRATE
                                                                                          Printed name and title JUDGE
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                                                                SEALED

STATE OF FLORIDA                                      CASE NO. 6:21-mj- 1287

COUNTY OF ORANGE

                                 AFFIDAVIT

      I, Kevin Kaufman, being duly sworn, do hereby depose and state as

follows:

      1.     This affidavit is submitted in support of a criminal complaint

against ERIC LANCE REYNOLDS (REYNOLDS), for a violation of 18

U.S.C. § 2252A(a)(2)(A). As set forth in more detail below, I believe there is

probable cause that on or about December 7, 2019 in Orange County, Florida,

REYNOLDS distributed child pornography using any means or facility of

interstate or foreign commerce or that had been transported in interstate or

foreign commerce, in violation of 18 U.S.C. § 2252A(a)(2)(A).

      2.    I have been a Special Agent (SA) with the Federal Bureau of

Investigation (FBI) for the past 16 years. I am currently assigned to the FBI

Violent Crimes Against Children Task Force.

      3.    I have received specialized training concerning investigations of

sex crimes, child exploitation, child pornography, and computer crimes. I

have also investigated and assisted in the investigation of matters involving the

possession, receipt, distribution, and production of child pornography. During

the course of my training and investigations, I have had the opportunity to
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observe and review numerous examples of child pornography (as defined in 18

U.S.C. § 2256) in all forms of media, including computer media. Moreover, I

am a SA who is engaged in enforcing the criminal laws, including 18 U.S.C. §

2252A.

      4.    I have participated in various training courses concerning the

investigation and enforcement of federal child pornography laws in which

computers are used as the means for receiving, transmitting, and storing child

pornography. Additionally, I have participated in the execution of search

warrants involving searches and seizures of computers, computer equipment,

software, and electronically stored information.

      5.    I make this affidavit based on my experience and background as a

law enforcement officer, including my experience with the FBI; my personal

participation in the investigation; information provided by other FBI Special

Agents who participated in this investigation with me, and other law

enforcement officers and agency personnel. Because this affidavit is being

submitted for the limited purpose of establishing probable cause for the

issuance of a criminal complaint, I have not set forth each and every fact

learned during the course of this investigation.

      6.    This affidavit is submitted in support of a criminal complaint

against REYNOLDS for a violation of 18 U.S.C. § 2252A. As set forth in




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more detail below, I believe there is probable cause that on or about December

7, 2019, in Orange County, Florida, REYNOLDS distributed child

pornography using any means or facility of interstate or foreign commerce or

that had been transported in interstate or foreign commerce, in violation of 18

U.S.C. § 2252A(a)(2)(A).

                    PROBABLE CAUSE STATEMENT

      7.    On March 18, 2021, federal agents interviewed federal inmate

JONATHAN BOUDREAU (BOUDREAU) at the United States Courthouse

in the Middle District of Florida. During the interview, BOUDREAU stated

that approximately 15 years ago he met a male named ERIC REYNOLDS,

later identified as REYNOLDS, on a dating application called

Grindr. BOUDREAU kept in touch with REYNOLDS and last

communicated with REYNOLDS in early 2020. REYNOLDS had regular

access to a minor, hereinafter “the minor.”

      8.    REYNOLDS and BOUDREAU had a sexual relationship and

shared an interest in child sexual abuse material (CSAM). On multiple

occasions, BOUDREAU and REYNOLDS shared CSAM with each other

through KiK and Telegram. REYNOLDS and BOUDREAU talked about

the minor and REYNOLDS told BOUDREAU that he was slowly trying




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different things with the minor to further groom the minor into what

BOUDREAU understood to be sexual activity.

      9.    Approximately 4 to 5 years ago, REYNOLDS invited

BOUDREAU over to REYNOLDS’ residence in Eustis,

Florida. REYNOLDS told BOUDREAU that he had a surprise for

BOUDREAU. BOUDREAU drove to REYNOLDS’ residence and entered

the residence. REYNOLDS led BOUDREAU to the bathroom where the

minor was nude in the shower. BOUDREAU understood watching the child

in the nude was REYNOLDS’ alleged surprise. The minor exited the shower

and walked around the residence while BOUDREAU and REYNOLDS

watched. BOUDREAU and REYNOLDS engaged in sexual acts with each

other, but not in front of, or with, the minor. BOUDREAU believed the

minor was approximately 7 to 8 years old.

      10.   The next time BOUDREAU went to REYNOLDS’ residence, he

walked in and observed the minor blindfolded and nude on the

bed. BOUDREAU and REYNOLDS took turns masturbating and

performing oral sex on the minor. BOUDREAU believed that he and

REYNOLDS were nude during the time they were sexually abusing the

minor. BOUDREAU recalled he performed oral sex on REYNOLDS while

REYNOLDS performed oral sex on the minor. BOUDREAU estimated he




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participated in abusing the minor at this location approximately 2 to 3

times. BOUDREAU stated that he believed REYNOLDS was sexually

abusing the minor on other occasions not with BOUDREAU present because

the minor seemed to be “used to” the abuse.

      11.     In or around 2018, REYNOLDS moved to a different residence

in Eustis, Florida. BOUDREAU stated he and REYNOLDS sexually abused

the minor at least 3 to 4 times while at REYNOLDS’ second residence in

Eustis, Florida. BOUDREAU recalled that there was an incident where

BOUDREAU used his cellular telephone to record himself entering a room at

REYNOLDS’ apartment. BOUDREAU activated his video camera on his

cellular telephone and placed it in his front pants pocket so that the camera

was still visible. BOUDREAU stated the phone recorded for approximately

30 seconds. BOUDREAU believed the recording captured REYNOLDS with

the minor. The minor was nude and blindfolded on the bed. BOUDREAU

transferred the recording from his cellphone to an external hard drive, which

was at his residence. BOUDREAU volunteered to turn over the device and

signed a consent to search form authorizing the FBI to search the device.

      12.   On March 19, 2021, your affiant went to xxxx Chandler Road,

Apopka, Florida, and met BOUDREAU’s attorney. BOUDREAU’s attorney

provided your affiant an external hard drive serial




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#WX41A64DKH9F. Pursuant to consent, the external hard drive was

searched. During the search, investigators located four videos which are

described below:

      Video 1:

      File Name: IMG_6975

      Description: The video is approximately 3 seconds in length. During
      the video, the minor is laying on a bed nude from the waist down. The
      minor has a gray/white blanket covering the upper half of the
      minor’s body. The minor's erect penis is observed as the minor laid on
      the bed.

      Video 2:

      File Name: IMG_6976

      Description: The video is approximately 14 seconds in length. During
      the video, the minor is observed standing in a bedroom, next to a
      bed. The minor is nude from the waist down and his penis is
      exposed. In the video, the minor stated, "I don't want to use a
      mask". A male can be heard responding "We'll do a little bit of the
      tasting and I'll let you play that for the rest." The minor responded, "I
      don't like to..." and the video cut off.

      Video 3:

      File Name: IMG_6977

      Description:

      The video is approximately 36 seconds in length. During the video, the
      minor is observed standing in a bedroom, next to a bed. The minor is
      nude from the waist down and his penis is exposed. In the video a
      conversation occurred between, REYNOLDS, the minor, and
      BOUDREAU. During this conversation, the minor removes his
      shirt. REYNOLDS does not appear to be under the influence of any
      substances.



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      REYNOLDS: (REYNOLDS hands the minor a blind fold) "No
      attitude. So, are we doing attitude? Take this off please.”

      The minor: "I don't need two."

      REYNOLDS: (Brings the minor a second eye mask) "Yes...the last
      time."

      The minor: "Why?"

      REYNOLDS: "We are giving a lot of attitude. I don't think he is going
      to get the surprise."

      The minor: "I just don't like to wear two."

      REYNOLDS: "It doesn't seem [the minor] is going to get much of a
      surprise."

      The minor: “[REYNOLDS]”

      BOUDREAU: "Are you enjoying your thanksgiving break?"

      The minor: "Not right now."

      REYNOLDS: "With this attitude, he's not going to get anything."

      Video 4:

      File Name: IMG_6978

      Description:

      The video is approximately 8 seconds in length. During the video, it
      appears a person is walking with the recording device into a room in
      which the minor is in. The minor is observed nude with an erect
      penis. REYNOLDS instructed the minor, "Down further, move over
      this way." The minor then re-positions himself on the bed.

      13.   SA Rodney Hyre and your affiant went to the minor’s residence

and spoke with the minor’s parent. Your affiant informed the minor’s parent




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about the sexual abuse to the minor and requested permission to forensically

interview the minor. Permission was given from the minor’s parent, and an

interview was scheduled. Prior to the interview, your affiant contacted the

Lake County Sheriff's Office (LCSO) to report the incident captured in the

video provided by BOUDREAU. Your affiant informed the LCSO about the

scheduled interview of the minor.

      14.   On March 19, 2021, the minor was interviewed by a

Child/Forensic Interviewer (CAFI). The interview was video recorded and

observed by SA Hyre and your affiant. During the interview, the minor did

not disclose any details about the sexual abuse. After the interview, your

affiant and SA Hyre requested to speak with the minor and a recorded

interview occurred. During the interview, the minor disclosed that

REYNOLDS touched the minor’s penis and performed oral sex on the minor

between 15 to 50 times. The minor stated the minor was blindfolded during

the incidents. The minor believed REYNOLDS used his cellular telephone to

take pictures of the minor while the sexual abuse occurred.

      15.   After the interview the LCSO and the FBI contacted

REYNOLDS at his residence in Mt. Dora, Florida. REYNOLDS answered

the door to his residence and was advised that someone had made

allegations that REYNOLDS had sexually abused them. REYNOLDS exited




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his residence and agreed to speak with the investigators. The interview was

recorded, and prior to the interview beginning, REYNOLDS was advised he

was not under arrest, he did not have to answer any questions, and was free to

leave. REYNOLDS stated he understood and an interview occurred.

      16.   During the interview, REYNOLDS stated he knew who

BOUDREAU was and identified BOUDREAU as "Jay." REYNOLDS stated

he had a sexual relationship with BOUDREAU. REYNOLDS claimed he

was scared of BOUDREAU and stated BOUDREAU often sent him

CSAM. Occasionally, BOUDREAU asked REYNOLDS to send him

CSAM and REYNOLDS stated he used to send CSAM to

BOURDREAU from his old cellular telephone using the KiK and Telegram

applications. Your affiant asked REYNOLDS if he had viewed CSAM on

any of the devices he currently owned. REYNOLDS stated he had seen

CSAM on his current cellular telephone identified as an Apple iPhone 12 Pro

Max and on his Galaxy tablet. REYNOLDS provided the items to your

affiant and provided verbal consent to search the Devices. REYNOLDS

unlocked his iPhone 12 and directed your affiant to the KiK application.

      17.   REYNOLDS was asked about abusing the minor. REYNOLDS

adamantly denied ever abusing the minor. REYNOLDS was advised that law

enforcement had viewed a video in which REYNOLDS is abusing the minor.




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REYNOLDS demanded to see the video. Your affiant showed REYNOLDS

a portion of Video 3, described above. REYNOLDS identified himself in the

video. REYNOLDS stated the video was recorded at his apartment in Eustis,

Florida. REYNOLDS stated he did not remember sexually abusing the minor

and claimed he was on drugs. REYNOLDS was placed under arrest by the

LCSO and has been charged with capital sexual battery of a minor under 12

years old.

             SEARCH WARRANT AND FORENSIC REVIEW

      18.    Although REYNOLDS provided consent to search his iPhone 12

and Galaxy Tab E, on March 25, 2021, your affiant obtained a federal search

warrant to search each of the devices.

      19.    On March 30, 2021, your affiant conducted an initial forensic

review of an Apple iPhone 12 Pro Max (A2172), serial number

F2LDQJU10D45. During the review, your affiant located images and videos

of child sexual abuse material. Specifically, your affiant located an image

containing the file name 32f99258-9d7c45d5-88e8-a1e0f8998a97. The image

was a close-up of an adult hand touching the penis of a child who is

approximately 7-9 years old. The image was distributed from REYNOLD’s

KiK account on December 7, 2019 at approximately 3:14 p.m., via the

Internet, which is a means and facility of interstate commerce. The image was




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distributed during the below conversation between REYNOLDS and another

KiK user, hereinafter “D”:

      REYNOLDS: Since you sent a video of touching I will send the same
      type back hold on what will you and me after I send you this?

      D: that's what I was hoping for.

      REYNOLDS: Ok how young you like to see?

      D: 5...6...7..10. lol

      REYNOLDS: You Not a cop right? And when I send this to you what
      will you send me back?

      D: I am not. I swear

      D: a guy that loves seeing young pussy and young sucking and
      young getting fucked. it's such a lust for me

      D: and if you are for real I will return the favor

      D: I was hoping to meet someone I really was

      D: did I lose you?

      REYNOLDS: No I am here

      D: ok. no pressure man haha

      REYNOLDS: I will send you my icebreaker what will you send me
      that?

      REYNOLDS: Back?

      REYNOLDS: Not that lol

      D: you show.me what I'm hoping to see and you will see me getting
      my dog all the way hard




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      D: and if you send another that's even better I will suck him for you

      REYNOLDS: After I send this icebreaker will you send me a video of
      you sucking him and getting him hard and then I will send you another
      one?

      D: I would like to do the order I just said please. you won't
      be disappointed

      D: I want to show you

      D: everything. but we need to kinda move along here my son is
      gonna come up stairs pretty soon.

      D: but haha no rush

      REYNOLDS: Just saying that it be nice to see more than touching after
      I sent you this icebreaker that way I can see some kind of action
      going on to comparable to what I will be sending you

      D: like very soon actually lol

      REYNOLDS: Would you make a live video with him and send it to
      me?

      D: you will see him hard as a rock. me getting a dog hard In a live
      vid man. that's a huge thing for a guy to do and then more right after
      that. that's m offer. I don't want you to get upset so if you are out then
      just say

      D: it's ok?

      D: ok

      REYNOLDS: Ok

      D: ok your out. or ok your sending?

      REYNOLDS: Yes ok going to send

      D: I'm excited




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      REYNOLDS: *REYNOLDS sent an image of a male child
      approximately 7-9 years old who is dressed in pajamas standing in the
      bathroom. The image is taken through a peephole of the bathroom
      door.*

      D: the waiting is Killing me haha

      REYNOLDS: It is sending

      D: lol slooooow

      REYNOLDS: Yes

      D: *D sent an unknown image*

      D: you see to me what I've just sent is way over the top compared
      to what you just sent

      D: so you see. that's me.. live haha right now stroking my dog

      REYNOLDS: I'm going to send you a good one can you send me you
      sucking him back?

      D: we can go more. but what I've done is way more than what you've
      sent so in order for me to go again I need something very good from
      you.

      D: you understand right?

      D: I will i has to be very good

      D: like cum

      D: or young sucking

      REYNOLDS: I got you yes it will be really good so that you can send
      me a video of you sucking it

      D: ok (emoticon)




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      REYNOLDS: May I ask you a question would you ever take a live
      video for me with you and your son?

      REYNOLDS: *REYNOLDS sent an image with the file
      name: 32f99258- 9d7c45d5-88e8- a1e0f8998a97. The image was
      described above.

      REYNOLDS: It is sending

      D: doing what?

      D: I'm not sexual with him

      D: I never did. wanted to!

      REYNOLDS: doing the video I just sent you

      REYNOLDS: Would you send me a live video of you doing the video
      that I just sent you?

      D: not possible

      REYNOLDS: Your turn

      REYNOLDS: Did I lose you?

      D: dog is outside and son is up. I am not lying

      REYNOLDS: You can send me a live video with you and your son :-)
      or check

      REYNOLDS: That would be fair to the one that I sent you

      D: if you can keep going I owe you

      D: a d wanna keep going

      D: *D sent an unknown image*




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      20.   Further review of the Apple iPhone 12 Pro Max (A2172), serial

number F2LDQJU10D45, revealed that between approximately December 6,

2019 and December 8, 2019, the defendant was house-sitting for a friend who

resided at XXXX Beatrice Drive, in Orlando, Florida. Location data retrieved

from the device revealed that on December 7, 2019 at approximately 5:52

a.m., the device was connected to the internet, in the vicinity of Beatrice

Drive, Orlando, Florida. Continuing on December 7, 2019 at approximately

8:34 a.m., REYNOLDS sent a text message indicating he had arrived back at

his apartment in Eustis, Florida, in order to pay some bills, but was intending

to return to the house in Orlando. At approximately 10:53 a.m., REYNOLDS

sent a text message stating he was heading back to the house in Orlando,

Florida. REYNOLDS distributed the above described image at 3:14 p.m. The

following morning, on December 8, 2019, REYNOLDS sent a text message

indicating he returned back to his home in Eustis, Florida.

      21.   Your affiant partially viewed the Galaxy Tab E that REYNOLDS

provided. Your affiant located approximately 35 images (thumbnails) of

CSAM in the following file path: Internal

storage>Android>data>org.videolan.vlc>files> medialib. The images

contained children being sexually abused and the ages of the victims ranged




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  from infant to 16 years old. The file details indicated the files were last viewed

  on December 2, 2020.

                                     CONCLUSION

        22.   Based on the above, there is probable cause that on or about

  December 7, 2019, in Orange County, in the Middle District of Florida,

  REYNOLDS knowingly distribute child pornography, in violation of 18

  U.S.C. § 2252A(a)(2)(A).

                                                                  K:~
                                                             Kevin Kaufman
                                                             Special Agent
                                                             Federal Bureau of Investigation


  Affidavit submitted by email and attested to me
  as true and accurate by Zoom consistent with                              Executed via telephone
  Fed. R. Crim. P. 4.1 and4(d) before me                                    because Zoom was not
  this_ 1 day of April 2021.
                                                                            connecting properly.

                                U.S. Districr Court - FLMD




~.IRICK
UNITED STATES MAGISTRATE                               • GE




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